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BLANCHARD WALKER

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VIA U.S. MAIL SCOTT R. WOLF
Hon. Terry A. Doughty Direct: 318.934.0228
United States District Judge Email: swolf@bwor.com
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Re: Abigail Matute vs. Wal-Mart Louisiana, LLC et al., 3:19-cv-00124, Arizona

U.S. District Court, Western District of Louisiana, Monroe Division
Our File No. 450056.599

Dear Judge Doughty:

This letter is to advise the Court that the parties have reached a settlement in this matter.
Accordingly, the Court may remove the trial set for the week of August 10, 2020, from the
Court’s calendar and the Court does not need to take any action on any pending motions. We
will soon forward a stipulation of dismissal to the Court.

If you should have any questions, please do not hesitate to contact me.

Sincerely,
Scott R. Wolf
SRW/ao

cc: Michael J. Mestayer, Esq.

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Tit MERITAS LAW FIRMS WORLDWIDE
